Case 0:24-cv-60591-MD Document 27-6 Entered on FLSD Docket 06/26/2024 Page 1 of 6
Case 0:24-cv-60591-MD Document 27-6 Entered on FLSD Docket 06/26/2024 Page 2 of 6
Case 0:24-cv-60591-MD Document 27-6 Entered on FLSD Docket 06/26/2024 Page 3 of 6
Case 0:24-cv-60591-MD Document 27-6 Entered on FLSD Docket 06/26/2024 Page 4 of 6




                            Exhibit A
Case 0:24-cv-60591-MD Document 27-6 Entered on FLSD Docket 06/26/2024 Page 5 of 6




  JASON KELLOGG
  E-MAIL: JK@LKLSG.COM
  DIRECT LINE: 305.722.8891

                                                     April 29, 2024

  VIA SERVICE OF PROCESS

  TrueCoverage LLC
  c/o Registered Agent
  Matthew Goldfuss
  5455 North Federal Highway
  Suite E
  Boca Raton, Florida 33487

           Re:      Preservation Letter Relating to Turner v. Enhance Health LLC,
                    Case No. 0:24-cv-60591-MD (S.D. Fla.) (the “Lawsuit”)

  To Whom it May Concern:

          On April 12, 2024, this firm filed a class-action complaint (the “Complaint”) on behalf of
  the plaintiffs (the “Class Plaintiffs”) in the above-referenced Lawsuit. A copy of the Complaint is
  attached as Exhibit A. You are among the named Defendants in the Lawsuit.

          On behalf of the Class Plaintiffs, You are hereby instructed to preserve all documents,
  tangible things, and electronically-stored information that may be potentially relevant to the
  Lawsuit, the Defendants, and Relevant Nonparties, as defined by the Complaint. You are further
  specifically instructed to preserve all email communications between You and any of the
  Defendants and Relevant Nonparties. The duty to preserve evidence is broad and extends to all
  physical evidence, documents, and information, regardless of whether stored tangibly,
  electronically (such as email), or in hard copy.

          In addition to the foregoing, we specifically request that You preserve all documents and
  communications, including but not limited to agreements, financial records, analyses, emails, text
  messages, group chats, etc., related to the following individuals and entities as well as their
  officers, directors, managers, members, agents (including health insurance), selling agents,
  downlines, business associate(s), carriers, employees, contractors, producers, financers, websites,
  and/or agents of record from January 2021 to the present:

  Any Defendants named in the Lawsuit, Aaron Murphy, Lydia Martinez, UBS, Advance Health,
  My Advance Health, Advance Health Financial, LLC, America Best Benefits Insurance Agency,
  LLC, Cove Agency, LLC, Honest Financial & Health, LLC, AccuCare Ins. LLC, Marketplace

                              LEVINE KELLOGG LEHMAN SCHNEIDER + GROSSMAN LLP
         100 S.E. 2nd Street, 36th Floor, Miami Tower, Miami, Florida 33131 · Main: 305.403.8788 · Fax: 305.403.8789
Case 0:24-cv-60591-MD Document 27-6 Entered on FLSD Docket 06/26/2024 Page 6 of 6

  TrueCoverage LLC
  April 29, 2024
  Page 2

  Enrollment Center, AccuCare Ins., LLC, TinyYom, LLC d/b/a My Daily Health Group, LSC
  Advisors, LLC, Easy Benefits Enrollment Insurance Agency, LLC, Blue Print Insurance, Rapid
  Direct Insurance Agency, Pick Your Plan Insurance Agency, LLC, ADG Innovations, LLC, Health
  First Insurance Agency, Easy Enroll Health Insurance Agency, LLC, Beyond Health Coverage
  Insurance Agency, LLC, Prince Health Group, LLC, Total Leads Domination (TLD), Retreaver,
  Alex Conroy, Jader Lopez, Kyle Wyche, Jonathan Massa, Evan Jaxtheimer, Amanda Glass,
  Jennifer Bowsky, Christopher McGill, Victoria Casserino, Lauren Switzer, Thomas Huston,
  Chester Rainwater, Venes Noel, Erica Oakes, Mitchell Eason, Carlos Moran, Maxwell Paskowitz,
  Lisa Murphy, Ambetter Health, Aetna Health and Life Insurance Company, Cigna Healthcare,
  United Healthcare Insurance Company.

           To ensure that all relevant items, documents, and information are preserved, please
  communicate directly with all employees who have possession, custody or control of potentially
  relevant evidence, including, but not limited to, information technology personnel involved with
  email retention, deletion, and archiving, as well as any outside consulting firm(s) You have utilized
  for similar purposes. All such persons and entities should be instructed to preserve all relevant
  documents and information in their possession, custody, or control. You should also advise all
  such persons that any regularly scheduled or automatic deletion of email or other electronic
  documents must be immediately discontinued with respect to any relevant data. In addition, any
  document destruction must immediately cease with respect to any relevant documents. All
  relevant documents and information, both electronic and paper, must be preserved for the duration
  of this litigation.

          The destruction of evidence when litigation is anticipated or has commenced has both civil
  and criminal implications. Should you fail to preserve potentially relevant evidence that results in
  the corruption, loss, or delay in production of evidence to which we are entitled, such failure would
  constitute spoliation of evidence and we will seek all available sanctions.

          If you have any questions, do not hesitate to contact me, and thank you for your attention
  to this matter.
                                                        Sincerely,

                                                                  LEVINE KELLOGG LEHMAN
                                                                  SCHNEIDER + GROSSMAN LLP

                                                                  s/ Jason Kellogg

                                                                  JASON K. KELLOGG P.A.

  Cc: Jason Doss, Esq.

  Enclosure




                             LEVINE KELLOGG LEHMAN SCHNEIDER + GROSSMAN LLP
        100 S.E. 2nd Street, 36th Floor, Miami Tower, Miami, Florida 33131 · Main: 305.403.8788 · Fax: 305.403.8789
